                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


FRED ROBINSON, et al.,                           )
                                                 )
Plaintiffs,                                      )
                                                 )
v.                                               )          Case No. 3:17-cv-01263
                                                 )          Judge Aleta A. Trauger
DAVID W. PURKEY, Commissioner                    )
of the Tennessee Department of Safety            )
and Homeland Security, in his official           )
capacity, et al.,                                )
                                                 )
Defendants.                                      )

                               MEMORANDUM AND ORDER

         Tennessee Department of Safety and Homeland Security (“TDSHS”) Commissioner David

W. Purkey (“Commissioner”) has filed a Motion for Partial Stay Pending Appeal (Docket No.

229), to which Fred Robinson, Ashley Sprague, and Johnny Gibbs have filed a Response (Docket

No. 231), and the Commissioner has filed a Reply (Docket No. 234). For the reasons set out herein,

the Commissioner’s motion will be granted in part and denied in part.

                                       I. BACKGROUND

         The plaintiffs have challenged the constitutionality of the Commissioner’s policy of

suspending the driver’s licenses of Tennessee drivers who, because they are indigent, have been

unable to pay fines and other fees assessed against them related to traffic violations. Those fines

and other fees are also known as “traffic debt.” The plaintiffs do not challenge Tennessee’s

authority to impose traffic debt or any local jurisdiction’s right to collect it using ordinary

collection mechanisms, such as garnishment or attachment. See Tenn. Code Ann. § 40-24-105(a);

Tenn. R. Civ. P. 69.05–.07; Tenn. Op. Att’y Gen. No. 06-135 (Aug. 21, 2006). Nor do they

challenge the Commissioner’s authority to suspend the driver’s licenses of people who are able to

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     Case 3:17-cv-01263 Document 236 Filed 11/05/18 Page 1 of 13 PageID #: 4243
pay their traffic debt but choose not to. See Tenn. Code Ann. § 55-50-502(a)(1)(H). Rather, the

plaintiffs take issue with the fact that the Commissioner has historically suspended the license of

every driver for whom it receives a notice of nonpayment from the relevant local jurisdiction, with

no consideration of the driver’s reason for nonpayment. The inevitable result has been that many

poor Tennesseans have seen minor traffic infractions transformed into debilitating suspensions

because the traffic debt imposed on them—which routinely numbers in the hundreds and even

thousands of dollars—is more than they can afford to pay. A driver with resources who commits

a traffic offense can pay a sum, begrudgingly or not, and move on. An indigent driver who commits

the same offense has his life severely disrupted for an indefinite period of time. The plaintiffs argue

that that policy runs afoul of the constitutional guarantees of due process and equal protection.

       The plaintiffs base their argument, first, on a series of well-settled Supreme Court

precedents holding that certain other criminal procedures related to costs and payment—which,

like the Commissioner’s policy, lacked indigence exceptions—deprived indigent defendants of

due process and equal protection by irrationally and unfairly treating those defendants worse than

non-indigent defendants for no reason other than their material poverty. See Griffin v. Illinois, 351

U.S. 12, 13 (1956) (fees for transcripts to use on appeal); Douglas v. California, 372 U.S. 353, 357

(1963) (counsel for direct appeal); Roberts v. LaVallee, 389 U.S. 40, 42 (1967) (fees for

preliminary hearing transcripts); Williams v. Illinois, 399 U.S. 235, 240–41 (1970) (extension of

sentence for failure to pay fines); Tate v. Short, 401 U.S. 395, 399 (1971) (required service on

municipal farm for failure to pay fines); Mayer v. City of Chicago, 404 U.S. 189, 198 (1971) (fees

for records to use on appeal in case involving fines only); Bearden v. Georgia, 461 U.S. 660, 672–

73 (1983) (revocation of probation for failure to pay fines or restitution).




                                                  2

  Case 3:17-cv-01263 Document 236 Filed 11/05/18 Page 2 of 13 PageID #: 4244
        In the alternative, the plaintiffs argue that the Commissioner’s policy violates James v.

Strange, 407 U.S. 128 (1972), in which the Supreme Court struck down an unusually harsh regime

for recouping attorneys’ fees from indigent defendants on the ground that it “blight[ed] in such

discriminatory fashion the hopes of indigents for self-sufficiency and self-respect.” Id. at 142–43.

Finally, the plaintiffs argue that, by failing to provide drivers with adequate notice and procedural

mechanisms related to an indigence exception, Tennessee has deprived drivers of the procedural

due process that the government owes to drivers facing the loss of their driving privileges. See Bell

v. Burson, 402 U.S. 535, 542 (1971) (“[I]t is fundamental that except in emergency situations . . .

due process requires that when a State seeks to terminate [the driver’s license of a presently

licensed driver], it must afford notice and opportunity for hearing appropriate to the nature of the

case before the termination becomes effective.” (citations and internal question marks omitted)).

        The plaintiffs filed a Motion for Preliminary Injunction seeking several types of broad

relief related to the Commissioner’s policies, both with regard to existing suspensions and possible

future suspensions. (Docket No. 25.) With regard to existing suspensions, the plaintiffs asked the

court to issue a blanket order requiring the Commissioner to reinstate the licenses of all drivers

suffering from traffic debt-related suspensions, with the exception of certain drivers facing other

bars to licensure. (Id. at 2.) With regard to the prospect of future suspensions, the plaintiffs sought

an order requiring the Commissioner to either discontinue suspensions or alter TDSHS’s

procedures to ensure that indigent drivers receive an exception and adequate notice and procedures

related to that exception. (Id. at 1.)

        The parties submitted the matter to the court on briefs, and, on October 16, 2018, the court

granted the plaintiffs’ motion in part and denied it in part. (Docket Nos. 222 & 223.) The court

concluded that the plaintiffs had established a strong likelihood of success on the merits with



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  Case 3:17-cv-01263 Document 236 Filed 11/05/18 Page 3 of 13 PageID #: 4245
regard to their constitutional claims and that, if injunctive relief were denied, irreparable harm

would be done both to the members of the plaintiff class and to the broader public interest. The

court also concluded, however, that the Commissioner had demonstrated that, if the court ordered

universal, immediate relief to all currently suspended drivers, then TDSHS would experience

significant logistical strains and revenue shortfalls that might interfere with the agency’s important

public functions. Accordingly, the court granted the plaintiffs a circumscribed version of their

requested relief. Pursuant to the court’s order, TDSHS is required to reinstate the license of any

covered driver who affirmatively applies for reinstatement, unless TDSHS provides the applicant

with notice of his right to an ability-to-pay determination. Under the terms of the order, TDSHS

can either make that ability-to-pay determination itself or refer the applicant to a local jurisdiction

for such a determination, and TDSHS is permitted to deny reinstatement if the applicant is found

not to be indigent. TDSHS is also required to waive reinstatement fees and any other reinstatement

requirements specifically related to the driver’s allegedly unlawful suspension (if there are any).

With regard to future suspensions, the court’s order permits TDSHS to continue to engage in future

suspensions only if it provides notice and an opportunity for an ability-to-pay determination or

receives confirmation that such a notice and opportunity were afforded at the local level. (Docket

No. 223 at 1–3.)

       On October 18, 2018, the Commissioner filed a Notice of Appeal. (Docket No. 228.)

Contemporaneously, he filed a Motion for Partial Stay Pending Appeal, in which he asked the

court to stay the portions of its preliminary injunction related to existing suspensions. (Docket No.

229.) The Commissioner informed the court that TDSHS has, for the time being, stopped imposing

new suspensions for nonpayment of traffic debt, bringing it into compliance with paragraph 1 of

the court’s order. (Docket No. 230-1 ¶ 4.) The Commissioner complains, however, that TDSHS



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  Case 3:17-cv-01263 Document 236 Filed 11/05/18 Page 4 of 13 PageID #: 4246
currently has no mechanisms for making ability-to-pay determinations and no resources available

for creating such a process. Specifically, the Commissioner has filed a Declaration by Director

Susan Lowe of TDSHS’s Financial Responsibility Division stating that TDSHS currently has only

six hearing officers, none of whom has received any training with regard to making indigence

determinations. (Id. ¶ 5.) Lowe reiterates that, as the parties and court have always understood,

TDSHS had no preexisting regulations in place for making such determinations, and she confirms

that TDSHS has not promulgated any such rules since the court’s order. (Id. ¶ 6.) The

Commissioner argues that, due to those limitations, the only way he can comply with paragraphs

2 and 3 of the court’s order—at least over the short term—is simply to waive fees and reinstatement

requirements for all applicants seeking reinstatement from their traffic debt suspensions, including

those who are not indigent.

                                     II. LEGAL STANDARD

       “A stay is not a matter of right, even if irreparable injury might otherwise result. It is instead

an exercise of judicial discretion, and the propriety of its issue is dependent upon the circumstances

of the particular case.” Nken v. Holder, 556 U.S. 418, 433 (2009) (internal citations, quotation

marks, and brackets omitted). When determining whether to grant a stay, courts consider “(1)

whether the stay applicant has made a strong showing that he is likely to succeed on the merits;

(2) whether the applicant will be irreparably injured absent a stay; (3) whether issuance of the stay

will substantially injure the other parties interested in the proceeding; and (4) where the public

interest lies.” Id. at 434 (internal quotation marks omitted). “These [four] factors are not

prerequisites that must be met, but are interrelated considerations that must be balanced together.”

SEIU Local 1 v. Husted, 698 F.3d 341, 343 (6th Cir. 2012) (internal quotation marks and citation

omitted).



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  Case 3:17-cv-01263 Document 236 Filed 11/05/18 Page 5 of 13 PageID #: 4247
                                           III. ANALYSIS

       The Commissioner argues that, because the Sixth Circuit has never ruled on whether a

regime such as Tennessee’s is required to include an indigence exception, there remain serious

questions with regard to whether this court’s order will survive the Commissioner’s appeal. The

Commissioner suggests that allowing paragraphs 2 and 3 of the preliminary injunction to go into

effect now, only to be vacated later, would unnecessarily disrupt TDSHS’s functioning and

revenues. The Commissioner also argues that the court’s preliminary injunction was ambiguous

with regard to which reinstatement requirements it is required to suspend, in violation of Rule

65(b) of the Federal Rules of Civil Procedure—an argument that the court will construe as a request

to modify the preliminary injunction, given that a fatally flawed injunction would not be remedied

by a mere stay.

A. Factors Regarding Propriety of Stay

       With regard to the first factor, likelihood of success on the merits, the Commissioner is

correct that, due to the unsettled nature of the law in this area, it is possible that the Sixth Circuit

will reject the constitutional theories advocated by the plaintiffs. This factor, however, carries less

weight than it might in other cases because the unique context of this case allowed the court to

consider that possibility already and limit the requested relief accordingly. Normally, when the

court enters a preliminary injunction against a party, it has no way of knowing, as a certainty,

whether the party will appeal. When the party does appeal, then, it introduces a new element of

uncertainty not addressed in the court’s initial balancing of considerations when it crafted its

injunction. See City of Pontiac Retired Emps. Ass’n v. Schimmel, 751 F.3d 427, 430 (6th Cir. 2014)

(setting forth preliminary injunction factors). Here, however, there was no question of whether the

Commissioner would raise the core issues of this case to the Sixth Circuit, because he had already



                                                   6

  Case 3:17-cv-01263 Document 236 Filed 11/05/18 Page 6 of 13 PageID #: 4248
done so—in his appeal of the court’s judgment in Thomas v. Haslam. 1 The court, accordingly,

already considered the likelihood of a dispositive change in Sixth Circuit law when the court

considered the scope of relief appropriate:

          The court . . . remains aware of the fact that, because Thomas is currently before
          the Sixth Circuit and presents an issue of first impression in the circuit, there is a
          possibility that the law governing this issue in Tennessee may change in the
          foreseeable future. The court, therefore, is hesitant to require TDSHS to expend too
          many resources now, when a potential clarification of its obligations is reasonably
          within sight.

(Docket No. 222 at 37.) The possibility of reversal on appeal—or the equivalent of reversal on

appeal, via Thomas—has already been considered and, indeed, was one of the court’s core reasons

for denying the plaintiffs the full relief they sought. That possibility, therefore, only weakly favors

further narrowing the relief granted by imposing a delay in the Commissioner’s obligations.

          The second factor governing stay requests calls on the court to consider whether a stay will

spare the Commissioner some irreparable harm. The harms to TDSHS at issue here are, for the

most part, economic. Typically, “economic loss does not constitute irreparable harm, in and of

itself.” State of Ohio ex rel. Celebrezze v. Nuclear Regulatory Comm’n, 812 F.2d 288, 290 (6th

Cir. 1987) (citing Wisc. Gas Co. v. F.E.R.C., 758 F.2d 669, 674 (D.C. Cir. 1985)). The

consequences of particular economic harms, however, may be irreparable, and the Commissioner

has, as he did in his opposition to the preliminary injunction, provided some evidence that the

compliance costs and revenue losses associated with the preliminary injunction might, in light of

current budgetary realities, interfere with TDSHS’s ordinary functioning. Such effects could

qualify as irreparable.




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    Case No. 3:17-cv-00005.


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    Case 3:17-cv-01263 Document 236 Filed 11/05/18 Page 7 of 13 PageID #: 4249
       The extent of those harms, however, is uncertain, given that TDSHS has avenues through

which it can restore at least some of the relevant revenue streams, including options that would not

require it to use its own hearing officers to make ability-to-pay determinations. The court’s order

was specifically crafted to allow TDSHS to rely on local jurisdictions for its ability-to-pay

determinations. (See Docket No. 223 ¶¶ 2.b & .c, 3.b & .c.) For example, under paragraphs 2.c and

3.c, TDSHS has the option of giving an applicant notice of his right to an ability-to-pay

determination but referring the applicant to the jurisdiction that initially reported his debt for the

determination to be made. Then, if the reporting jurisdiction determines that the driver is non-

indigent, TDSHS can deny reinstatement. (Id.) The plaintiffs, moreover, concede that some

Tennessee jurisdictions have adopted ability-to-pay processes related to traffic debt that satisfy

constitutional requirements—processes that any other jurisdiction could copy or adapt.

       It is, of course, possible that some local jurisdictions would not participate in such a

scheme, and TDSHS would, therefore, have to reinstate the licenses of all qualifying applicants

from those jurisdictions. TDSHS’s traffic debt suspension scheme, however, has always given

local governments the first say in how a debtor should be treated. As the court has earlier explained,

TDSHS has no way of knowing, in the first place, that a driver is eligible for suspension unless a

local jurisdiction reports him, which the local jurisdiction has no obligation to do. (Docket No. 151

at 11.) Accordingly, if a local jurisdiction simply elects not to report its debtors, TDSHS will never

get any revenues from those debtors—regardless of how much it might benefit from those

revenues. Relying on local jurisdictions for indigence determinations, therefore, would merely

replicate the balance of power in the program as it already exists.

       In any event, there is no reason to assume that local jurisdictions would refuse to participate

in such a system or that they would struggle at all in doing so. Indigence determinations are already



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  Case 3:17-cv-01263 Document 236 Filed 11/05/18 Page 8 of 13 PageID #: 4250
a pervasive, unavoidable feature of the criminal justice system, and Tennessee courts make

thousands of such determinations a year. See, e.g., Gagnon v. Scarpelli, 411 U.S. 778, 790 (1973)

(acknowledging right to indigent defense in some probation and parole revocation hearings);

Miranda v. Arizona, 384 U.S. 436, 473–74 (1967) (acknowledging right to indigent defense during

a custodial interrogation); Gideon vs. Wainwright, 372 U.S. 335, 344–45 (1963) (acknowledging

right to indigent defense at trial); Tenn. Admin. Office of the Courts, Tennessee’s Indigent Defense

Fund: A Report to the 107th Tennessee General Assembly 11–13 (2011) (providing statistics

related to indigence determinations). 2 As the plaintiffs point out, those courts are typically able to

make such determinations without resorting to the resource-intensive process of conducting full

hearings, by relying on forms and criteria intended to identify those defendants likely to be indigent

and those who likely are not. For example, jurisdictions may use presumptive indicators of poverty

such as participation in the Temporary Assistance for Needy Families program, TennCare

program, Supplemental Nutrition Assistance Program, or Supplemental Security Income program,

may inquire into reported taxable income, or may rely on affidavits attesting to a driver’s economic

situation. (Docket No. 223 at 6 n.3.) Only if there is some reason for a party to dispute a claim of

indigence would there ever be a need for anything resembling a hearing.

          Moreover, as the Commissioner has repeatedly reminded the court, traffic debtors already

have the right to seek discretionary relief from their traffic debt from the imposing court and, in

doing so, are free to argue their indigence as a persuasive reason for the court’s granting relief. All

that would be required to provide the necessary ability-to-pay determination in such a proceeding

would be to (1) adopt the reliable standards that that court already uses for indigence

determinations in other settings and (2) eliminate the discretionary nature of the relief. It is entirely


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    Available at http://www.tsc.state.tn.us/sites/default/files/docs/aoc_indigent_defense_fund_report.pdf.


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     Case 3:17-cv-01263 Document 236 Filed 11/05/18 Page 9 of 13 PageID #: 4251
possible, then, that TDSHS’s revenue streams can be, in large part, restored without TDSHS

having to turn to its own personnel and rulemaking to construct an indigence determination process

from scratch.

       Because the harms to TDSHS related to the preliminary injunction are speculative in scope

and can be mitigated, the second factor only weakly favors granting a stay. In contrast, the third

factor for considering a stay, which looks to the harm a stay would do to the party to whom the

injunction was originally granted, strongly favors denying the Commissioner’s request, because a

lengthy stay would undoubtedly cause serious and irreparable harm to members of the plaintiff

class. The court has gone on at length, here and in Thomas, regarding the obvious and

overwhelming facts establishing the centrality of driving to life in Tennessee. Poor individuals,

moreover, simply do not have the opportunities for mitigation and triage available to a large state

agency with millions of dollars in its budget and a staff of seasoned public servants at its disposal.

Every day without adequate transportation is a day in which a person is likely to be pulled more

deeply into poverty; to grow more isolated from family and community; and to fail to receive

needed medical care or perform necessary tasks. A person cannot merely put his participation in

life on hold for months or years at a time and hope to return no worse for wear. Opportunities

missed may never come again; good health lost may never be regained; and the stigma and

isolation accumulated cannot merely be sloughed off once the original obstacle is lifted. Granting

a stay pending appeal would lengthen and exacerbate the already damaging position in which

plaintiff class members already find themselves.

       With regard to the final factor for considering a stay, the public interest, that interest

continues to lie with (1) Tennessee’s complying with the Constitution and (2) Tennessee’s poorest

residents not being subject to a system that irrationally imposes a mere inconvenience on the rich



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 Case 3:17-cv-01263 Document 236 Filed 11/05/18 Page 10 of 13 PageID #: 4252
while upending the lives of the poor. Although the court remains sensitive to the budgetary

pressures faced by TDSHS, there is, ultimately, no fiscal veto to the constitutional guarantees of

due process and equal protection. Complying with the Constitution is routinely more expensive

than disregarding it. It is cheaper, for example, to deny individuals the opportunity to contest their

tax liability than it is to honor their right to due process and risk losing the revenues sought. 3 It is

cheaper to pay property owners subject to eminent domain only a pittance than it is to pay them

just compensation. 4 It is cheaper to try indigent criminal defendants without lawyers than to honor

those defendants’ right to appointed counsel. 5 Ultimately, however, every government must find

a way to fund itself and perform its functions within the bounds of the Constitution. The court has

attempted to craft the injunctive relief granted so as to reduce the strain on TDSHS, but it will not

further insulate TDSHS from its obligations by issuing a stay pending the resolution of the

Commissioner’s appeal.

        The Commissioner has asked, in the alternative, that this court grant a brief stay to allow

the Sixth Circuit to consider an equivalent motion. Even a short stay would lengthen the harm

imposed on individuals whose licenses have been suspended. Nevertheless, a brief stay, while the

Sixth Circuit determines whether to grant a full stay pending appeal, would constitute a

considerably lesser injury than the longer stay that the Commissioner seeks. The court,

accordingly, will grant the Commissioner’s motion, insofar as he seeks a stay to allow time for the

Sixth Circuit to consider an equivalent motion at the circuit level.




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  See U.S. Const. amend. XIV § 1.
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  See U.S. Const. amend. V, cl. 5.
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  See U.S. Const. amend. VI.

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    Case 3:17-cv-01263 Document 236 Filed 11/05/18 Page 11 of 13 PageID #: 4253
B. Ambiguity of Order

        Every order granting an injunction must “state its terms specifically” and “describe in

reasonable detail . . . the act or acts restrained or required.” Fed. R. Civ. P. 65(d)(1). “These

prerequisites are designed to protect those who are enjoined by informing them of what they are

called upon to do or refrain from doing in order to comply with the injunction or restraining order.”

11A Charles Alan Wright, et al., Federal Practice & Procedure § 2955 (2d ed.). The Commissioner

argues that one aspect of the court’s order is ambiguous: its requirement that TDSHS, in certain

situations, “[w]aive all reinstatement fees and other reinstatement requirements related to the

suspension of any driver’s license for failure to pay fines, costs, or litigation taxes related to traffic

violations.” TDSHS argues that “other reinstatement requirements” is ambiguous because the

court has not enumerated every reinstatement requirement that must be waived.

        The Commissioner—who is presumably aware of what his agency requires—has identified

three types of requirements with regard to which the order is allegedly ambiguous:

    1. Ordinary requirements related to the issuance of a new noncommercial license for a driver

        whose license would have expired during the period of his suspension (Docket No. 230 at

        3; Docket No. 187-1 ¶ 39);

    2. Additional proof of citizenship and medical certifications required for reissuance of a

        commercial license that would have expired during the period of the driver’s suspension

        (Docket No. 230 at 4; Docket No. 187-1 ¶ 39); and

    3. Fees imposed on drivers who did not surrender their physical licenses at the time of their

        allegedly unlawful suspensions (Docket No. 230 at 4; Docket No. 187-1 ¶ 38).

Each of these examples of alleged ambiguity, however, would seem to be resolved by the text of

the preliminary injunction itself. The Commissioner is only required to waive requirements



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 Case 3:17-cv-01263 Document 236 Filed 11/05/18 Page 12 of 13 PageID #: 4254
“related to the suspension of any driver’s license for failure to pay fines, costs, or litigation taxes

related to traffic violations pursuant to Tenn. Code Ann. § 55-50-502(a)(1)(H) or (I).”

Requirements that have accrued to a driver merely due to the passage of time, rather than as a

result of his suspension, are plainly not “related to the suspension.” A penalty imposed pursuant

to administrative requirements ancillary to an allegedly unlawful suspension, in contrast, is related

to the suspension. Insofar as the preliminary injunction was ambiguous in those regards, the court

will amend the preliminary injunction to resolve those ambiguities below.

                                          CONCLUSION

       For the foregoing reasons, the Commissioner’s Motion for Partial Stay Pending Appeal

(Docket No. 229) is hereby GRANTED in part and DENIED in part. The October 18, 2018 Order

is hereby AMENDED to include the following language:

       The phrase “reinstatement requirements related to the suspension of a driver’s
       license” (1) shall be read to include fees or penalties imposed for failure to
       surrender the driver’s license at the time of the relevant suspension and (2) shall
       not be read to include any requirements or fees that are associated solely with the
       required renewal of a driver’s license that would have expired during the period of
       the applicant’s suspension.

Paragraphs 2 and 3 of the court’s October 18, 2018 Order (Docket No. 223) are hereby STAYED

until either (1) a ruling by the Sixth Circuit Court of Appeals on a timely and promptly filed Fed.

R. App. P. 8(a) motion requesting a stay of this court’s preliminary injunction order or (2)

notification from the Commissioner that he has elected not to seek such relief in the Sixth Circuit.

The Commissioner shall promptly inform the court if such a decision is made.

       IT IS SO ORDERED.

       ENTER this 5th day of November 2018.

                                                               ______________________________
                                                               ALETA A. TRAUGER
                                                               United States District Judge

                                                  13

 Case 3:17-cv-01263 Document 236 Filed 11/05/18 Page 13 of 13 PageID #: 4255
